Case 3:24-cv-00404-MCR-ZCB   Document 21-6   Filed 06/05/25   Page 1 of 15
  Case 3:24-cv-00404-MCR-ZCB         Document 21-6    Filed 06/05/25   Page 2 of 15




                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF FLORIDA
                               PENSACOLA DIVISION

NICHOLAS FORD and
ALONZO HAWKINS,

         Plaintiffs,
v.                                             CASE NO.: 3:24-cv-00404-MCR-
                                               ZCB
SOUTHERN ROAD & BRIDGE, LLC,

     Defendant.
_______________________________/

                          DECLARATION OF RYAN WITT

        I, RYAN WITT, declare as follows:

     1. I have personal knowledge regarding the facts and matters stated below in this

Declaration and am competent to testify regarding same.

     2. I held the position of Superintendent for Southern Road & Bridge, LLC

(“SRB”) from February 2020 until I left SRB in October 2024.

     3. As Superintendent, I was the on-site project manager. I kept the project on

track making sure that that we have supplies, the project is on budget, and most

importantly, the crew are working on schedule. I oversaw the onsite crew inspection

to ensure the project is in conformance with plans and standards especially when

field inspectors visit while we are working on the bridge. I also supervised the team

working at the job site, which entails giving them clear feedback, plans, and

instructions that the foreman then implements to the crew, I was in-charge of

                                        Page 1
  Case 3:24-cv-00404-MCR-ZCB        Document 21-6     Filed 06/05/25   Page 3 of 15

                                                Case No. 3:24-cv-00404-MCR-ZCB

scheduling and enforcing SRB policy including discipline, write-ups, and

suspension as approved by SRB management.

    4. As Superintendent, I am familiar with and mindful of SRB’s policies against

retaliatory or discriminatory conduct toward any SRB employee and SRB’s zero

tolerance policy against any individual on the basis of any trait protected by law and

any actual or attempted retaliation or threat of retaliation against an employee for

reporting any violation of SRB’s policies, applicable law or regulation, or for

expressing concern about the implementation of such policies.

   5. Consistent with SRB’s goal of offering equal employment to all persons, SRB

employs individuals of all races, national origins, and ethnic backgrounds, and over

half of SRB’s 205 employees during the time I worked there were members of

minority groups.

    6. As the Superintendent, I have conducted myself in a manner that is consistent

with these policies and made sure SRB employees do the same. I am not aware of

any unfair treatment, discrimination, or retaliation of Plaintiffs Nicholas Ford (“Mr.

Ford”) or Alonzo Hawkins (“Mr. Hawkins”).

   7. As Superintendent, I managed the team working at the job site and was there

on a daily basis directly overseeing their work especially on critical phases of the

project. I made sure the team is safe and on schedule with the project.

   8. As Superintendent, the Foreman reports directly to me. The Foreman did not

                                       Page 2
  Case 3:24-cv-00404-MCR-ZCB      Document 21-6       Filed 06/05/25   Page 4 of 15

                                              Case No. 3:24-cv-00404-MCR-ZCB

have employee responsibility for work assignments, scheduling, hiring, firing,

demotions, promotions, and transfers of employees, and instead the Superintendent

had all that authority.

   9. As Superintended, I have direct knowledge of Mr. Ford’s and Mr. Hawkins’

employment history and the hours they actually worked on the job sites.

   10.Mr. Ford and Mr. Hawkins were employees of SRB. Mr. Ford began his

employment with SRB on February 26, 2023. Meanwhile, Mr. Hawkins started his

employment with SRB on April 11, 2023.

   11.I hired both Mr. Ford and Mr. Hawkins. I was aware they were African

American at the time I hired them and their race was not a factor considered at any

time by SRB in their employment with the company. SRB Foreman, Esequiel

“Isaac” Ruiz (“Mr. Ruiz”), recommended to me that I hire both of them. Mr. Ford

and Mr. Hawkins were friends with Mr. Ruiz’s half-brother, Fidencio Reyes, and

they went to school together.

   12.As part of their onboarding, Mr. Ford and Mr. Hawkins were each provided a

copy of the SRB Employee Handbook (“Handbook”). See SRB Employee

Handbook attached as Exhibit A.

   13.Mr. Ford and Mr. Hawkins each signed the Equal Employment Opportunity

Policy Statement. See Mr. Ford’s and Mr. Hawkins’ signed Equal Employment

Opportunity Policy Statement attached as Exhibit B.

                                     Page 3
  Case 3:24-cv-00404-MCR-ZCB        Document 21-6     Filed 06/05/25    Page 5 of 15

                                                Case No. 3:24-cv-00404-MCR-ZCB

   14.Mr. Ford and Mr. Hawkins were both informed that the Handbook contains

the policies regarding filing a complaint and the contact information they needed to

file a complaint. Particularly, page 47 instructs employees that all complaints about

discrimination or harassment must be reported immediately without fear of reprisal.

Moreover, the Equal Employment Opportunity Statement also provides a reporting

procedure for any violations of policy or incidents of harassment or discrimination.

If Mr. Ford or Mr. Hawkins experienced anything that would warrant a report, they

failed to follow policy despite this clear and simple instructions. See Exhibit B; see

also page 47 excerpt from Handbook regarding Sexual and Other Unlawful

Harassment Reporting Policy attached as Exhibit C.

   15.Mr. Ford and Mr. Hawkins were employed as general laborers. Mr. Ford had

a valid driver license. I authorized Mr. Ruiz to ask Mr. Ford if he was interested to

become a driver. Mr. Ford agreed. Mr. Ford was then added as a driver to the SRB

insurance policy.

   16.Mr. Ruiz discussed with Mr. Ford that he was to be paid $22.00 per hour as

laborer. Starting March 13, 2023, Mr. Ford’s pay was bumped to $24.00 per hour

after he accepted the offer to become driver and was added as driver.

   17.There was no agreement to pay Mr. Ford $24.00 per hour from the start of his

employment as general laborer. Any pay amount must be authorized by the project

manager or superintendent. Neither Project Manager, George Pappas (“Mr.

                                       Page 4
  Case 3:24-cv-00404-MCR-ZCB       Document 21-6     Filed 06/05/25   Page 6 of 15

                                               Case No. 3:24-cv-00404-MCR-ZCB

Pappas”), nor I authorized payment for $24.00 per hour to Mr. Ford. As such, there

is no incorrect hourly rate or payment owed to Mr. Ford.

   18.On November 6, 2023, Mr. Hawkins asked me about hours he thought were

not paid for the time period of October 23 to October 29, 2023. I kept asking him to

please let me know which hours are wrong and to provide details. I asked him

multiple times to call me back so we could get together and go over his hours to get

it corrected, if necessary. However, Mr. Hawkins never called or texted me back

with his information. See text exchange between Mr. Witt and Mr. Hawkins attached

as Exhibit D.

   19.I also informed Mr. Hawkins by text to contact payroll department

immediately so that corrections could be made on his time and it gets added to that

week’s pay cycle, if there were any errors. See Mr. Witt’s text to Mr. Hawkins to

contact Christina attached as Exhibit E.

   20.Mr. Pappas also spoke with Mr. Hawkins and Mr. Ford. Mr. Pappas requested

for both of them to meet with him to discuss and resolve their issues about hours not

paid. However, they both declined and said they were going to retain a lawyer and

leave SRB. Mr. Hawkins and Mr. Ford refused to engage or provide any

documentation supporting any payroll discrepancy.

   21.Following Mr. Hawkins raising his concern to me about alleged hours not

paid, I immediately conducted an audit to validate that all employees’ hours—not

                                      Page 5
  Case 3:24-cv-00404-MCR-ZCB       Document 21-6     Filed 06/05/25   Page 7 of 15

                                               Case No. 3:24-cv-00404-MCR-ZCB

just Mr. Hawkins’ or Mr. Ford’s—were correct, accounted for, and no hours were

missing. Employees on a crew generally work the same hours, unless the employee

is off, out, or approved to come early. As we are working on a Department of

Transportation (“DOT”) project, schedules are strict because it involves road

closures. The closure schedule starts from 8:00 p.m. to 5:30 a.m., Sunday through

Thursday. Any minute that SRB goes over such schedule results to payment of

liquidated damages, so we strictly comply with that schedule.

   22.During my audit, I reviewed all pay records and time records for all

employees, including Mr. Hawkins’ and Mr. Ford’s. I confirmed that Mr. Hawkins

and Mr. Ford were paid correctly for all hours worked. I also observed Mr. Hawkins,

Mr. Ford and other employees on the crew working as I worked on-site daily, so I

know that the hours they actually worked are correctly reflected in the amounts they

were actually paid per my audit. I also observed during my audit that Mr. Hawkins

and Mr. Ford were routinely paid overtime as well.

   23.In fact, Mr. Hawkins was paid a total of 213.50 hours of overtime from the

period of April 11, 2023 up to and including November 9, 2023, when Mr. Hawkins’

employment voluntarily terminated. See Mr. Hawkins’ payroll records attached as

Exhibit F.

   24.Meanwhile, Mr. Ford was paid a total of 129.50 of overtime from the period

of February 26, 2023 up to and including November 6, 2023, when Mr. Ford’s

                                      Page 6
  Case 3:24-cv-00404-MCR-ZCB        Document 21-6      Filed 06/05/25   Page 8 of 15

                                                 Case No. 3:24-cv-00404-MCR-ZCB

employment voluntarily terminated. See Mr. Ford’s payroll records attached as

Exhibit G.

   25.I affirm that Mr. Hawkins and Mr. Ford have the correct hours worked. I

observed them working at the job site every day. Since we are on a DOT project, all

of the construction crew’s schedules are the same—regardless if the crew is Black,

Hispanic, or Caucasian/White.

   26.Mr. Hawkins never asked me for a day off to spend time with his dying

mother. It would have been granted had I been informed.

   27.I was aware that Mr. Hawkins and Mr. Ford were taking time off to spend

time at their mother’s funeral. I never advised them that they would be paid for any

time spent not working.

   28.I never demanded for Mr. Hawkins or Mr. Ford to immediately return to the

job site while they were attending their mother’s funeral.

   29.Neither Mr. Hawkins nor Mr. Ford informed me that they needed help with

their transportation back to the jobsite from their mother’s funeral. It is SRB’s policy

to only pay for trips that are related to the job. However, under these circumstances,

I would have made a request to SRB had I been informed that they needed

transportation. SRB would have approved such a request.

   30.Neither Mr. Ford nor Mr. Hawkins complained to me about not being allowed

to stop for food before they head to the job site.

                                        Page 7
  Case 3:24-cv-00404-MCR-ZCB        Document 21-6     Filed 06/05/25   Page 9 of 15

                                                Case No. 3:24-cv-00404-MCR-ZCB

   31.No employee ever complained to me about not being allowed to stop for food

before they head to the job site.

   32.I am not aware of Mr. Ruiz telling Mr. Ford, Mr. Hawkins, or any Black

employees that they cannot stop for food before they head to the job site. Nor am I

aware that Hispanic employees are being allowed to stop to get food before they

head to the jobsite, while Black employees are not.

   33.Neither Mr. Ford nor Mr. Hawkins complained to me about not being allowed

a lunch break.

   34.No employee ever complained to me about not being allowed a lunch break.

   35.I am not aware of Mr. Ruiz denying African American employees of their

lunch break. In fact, since it is protocol that someone has to be at the bridge at all

times, the crew took alternating lunch breaks. I have seen the crew buy burgers and

I had bought them lunch too.

   36.Neither Mr. Ford nor Mr. Hawkins complained to me about not being allowed

to drive the company truck. In fact, Mr. Ford was an authorized SRB driver and had

been included in the SRB insurance policy as an authorized driver.

   37.Mr. Hawkins was not an authorized driver of the company vehicles as he does

not have a valid driver’s license. In fact, I once caught Mr. Hawkins driving the

company truck. He was immediately reprimanded.

   38.I have not witnessed Mr. Ruiz allowing Hispanic employees to drive the

                                       Page 8
 Case 3:24-cv-00404-MCR-ZCB         Document 21-6     Filed 06/05/25    Page 10 of 15

                                                 Case No. 3:24-cv-00404-MCR-ZCB

company truck despite not having any valid driver’s license. It is SRB policy that an

employee without a valid driver’s license and a good driving record is not allowed

to drive the company truck.

   39.I have not witnessed nor am I aware of Mr. Ruiz or non-Black employees

telling Mr. Hawkins that he cannot drive the company trucks because he is Black

and the team might get pulled over.

   40.Neither Mr. Ford nor Mr. Hawkins complained to me about discrimination.

   41.No employee ever complained to me about discrimination.

   42.Neither Mr. Ford nor Mr. Hawkins complained to me about being subjected

to racial slurs.

   43.No employee ever complained to me about being subjected to racial slurs.

   44.Mr Hawkins and Mr. Ford have a history of friendship with some of the

construction crew. I have heard the employees using racial slurs but in a joking

manner, going back and forth in a brotherly banter and not in a derogatory way.

   45.Notably, Mr. Hawkins and Mr. Ford are brothers. Another construction crew,

Dezmond Jones, is their cousin.

   46.I never made any comments to Mr. Ford or Mr. Hawkins about Black men’s

genitals or penis on or around September 13, 2023 or at any other time period. In

fact, I was not even at the jobsite and was at a different job location during this time

period.

                                        Page 9
 Case 3:24-cv-00404-MCR-ZCB        Document 21-6      Filed 06/05/25   Page 11 of 15

                                                  Case No. 3:24-cv-00404-MCR-ZCB

   47.I never made any comments to Mr. Ford or Mr. Hawkins about paying a “gay

guy to grab your dick for $50.”

   48.I never showed Mr. Ford or Mr. Hawkins any pictures of naked women nor

did I make a statement to them that “y'all can bang her with y'all big black cock."

   49.Neither Mr. Ford nor Mr. Hawkins complained to me about not being allowed

to use the restroom.

   50.No employee ever complained to me about not being allowed to use the

restroom, which is absolutely absurd.

   51.There are porta-potties available at the yard and all employees are welcome

to use it.

   52.In approximately November 6, 2023, I did not tell Mr. Hawkins that he, along

with the crew, did not have to report to work because he earned the day off. I told

Mr. Hawkins and the crew to stand down and stay at the hotel because there were

some safety concerns at the job site and I did not want an inexperienced crew to be

there. Mr. Hawkins and the crew were all paid for that day.

   53.Mr. Hawkins was scheduled to return to work the next day, November 7,

2023. However, Mr. Hawkins refused to go back to work. Instead, he opted to stay

in the hotel. Mr. Ruiz and I tried calling him for a couple of days. But he refused to

answer our calls. Crew members tried knocking on his hotel room door but he did

not respond. A crew member told me that Mr. Hawkins has quit.

                                        Page 10
 Case 3:24-cv-00404-MCR-ZCB       Document 21-6    Filed 06/05/25   Page 12 of 15

                                               Case No. 3:24-cv-00404-MCR-ZCB

   54.On November 9, 2023, after Mr. Hawkins has not called nor showed up to

work for two (2) days, Mr. Hawkins was voluntarily terminated for “no call, no

show.” This was a resignation and not an SRB-initiated termination. See Mr.

Hawkins’ November 9, 2023 Termination Form attached as Exhibit H.

   55.Under the Handbook, a voluntary employment termination is initiated by the

employee and is deemed as a “resignation.” As opposed to an employment

termination initiated by SRB, which is considered as a “discharge.” See Exhibit A,

page 49 of the Handbook under “Employment Termination.” Mr. Hawkins and Mr.

Ford were both resignations as defined in the Handbook.

   56.I contacted Mr. Hawkins multiple times along with Mr. Ruiz. However, Mr.

Hawkins blocked both my phone number and Mr. Ruiz’s number. Mr. Pappas tried

to text Mr. Hawkins to ask if he is going to work. Mr. Hawkins never responded.

Another employee drove Mr. Hawkins to the airport to leave town. Mr. Hawkins

never asked me nor Mr. Ruiz permission to go on any leave and miss work. As a

result, Mr. Hawkins abandoned his position and was subject to voluntary

termination.

   57.On November 6, 2023, Mr. Ford was also subject to voluntarily termination

for job abandonment. Mr. Ford had not reported to work for five (5) work days since

October 24, 2023. Mr. Ruiz and I had tried contacting Mr. Ford many times but he

refused to answer his phone. Finally, on November 5, 2023, I spoke with Mr. Ford

                                     Page 11
 Case 3:24-cv-00404-MCR-ZCB        Document 21-6    Filed 06/05/25   Page 13 of 15

                                                Case No. 3:24-cv-00404-MCR-ZCB

and offered him to come back to work. However, Mr. Ford declined. See Mr. Ford’s

November 6, 2023 Termination Form attached as Exhibit I.

   58.On November 6, 2023, Mr. Pappas texted and called Mr. Ford to inform him

that he will be voluntarily terminated for job abandonment. Mr. Ford still refused to

come back to work. Mr. Ford texted Mr. Pappas and told Mr. Pappas to contact him

by text only as he was in school attending orientation. It was later found out that

Ford enrolled in a 72-month career pathway program and had no plans to return to

work at SRB. Like Mr. Hawkins, this was a resignation and not an SRB-initiated

termination. See the November 6, 2023 text exchange between Mr. Ford and Mr.

Pappas attached as Exhibit J.

   59.As explained earlier, a voluntary employment termination is initiated by the

employee and is deemed as “resignation” under the Handbook. As opposed to an

employment termination initiated by SRB, which is considered as a “discharge.” See

Exhibit A, page 49 of the Handbook under “Employment Termination.”

   60.Notably, this is not the first time that SRB gave Mr. Ford the option to return

to work.

   61.On July 29, 2023, Mr. Ford was voluntarily terminated for not returning to

work following a leave of absence. On the week of July 23, 2023, Mr. Ford requested

for leave of absence to visit his home in Texas. Mr. Ford was supposed to report

back to work on July 29, 2023. However, Mr. Ford did not show up for work in

                                      Page 12
 Case 3:24-cv-00404-MCR-ZCB       Document 21-6     Filed 06/05/25   Page 14 of 15

                                               Case No. 3:24-cv-00404-MCR-ZCB

violation of SRB policy. When I called him on July 29, 2023, he was still in Texas.

   62.During the week of July 29, 2023, SRB was pressed for time on a project and

needed all workers to be present. As such, SRB gave Mr. Ford an opportunity to

return back to work. Mr. Ford reported back to work. See Mr. Ford’s July 29, 2023

Termination Form attached as Exhibit K.

   63.Further, around July or August 2023, Mr. Ford was found sleeping on the job.

This is not only an SRB policy violation but an egregious safety issue. Mr. Ford was

suspended for three (3) days. Mr. Ford reported back to work following his

suspension.

   64.Ultimately, I hired Mr. Ford and Mr. Hawkins cognizant of their race at the

time of hire. I knew they are African American when I hired them. I would not have

hired them if my intentions were to discriminate. Their race was a none-issue. Mr.

Ruiz told me Mr. Ford and Mr. Hawkins were good workers. Mr. Ford and Mr.

Hawkins were paid the same as the rest of the crew. Other comparators who were

Caucasian/White and Hispanic had the same hours as Mr. Ford and Mr. Hawkins.

SRB wanted Mr. Ford and Mr. Hawkins to stay employed with SRB. Laborers are

always in high demand. SRB took the extra mile to keep calling Mr. Ford and Mr.

Hawkins and repeatedly asking them to come back. However, they decided to leave

SRB on their own volition. Mr. Ford and Mr. Hawkins resigned from their position.

Contrary to Mr. Ford’s and Mr. Hawkins’ claim, SRB did not terminate them.

                                     Page 13
Case 3:24-cv-00404-MCR-ZCB   Document 21-6   Filed 06/05/25   Page 15 of 15
